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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

LISA BAXTER,

   Plaintiff
                                                  CASE NO.: 6:17-CV-00351-CEM-TBS
-vs-

FORTIVA FINANCIAL, LLC,

   Defendant.
                                      /

                                 NOTICE OF SETTLEMENT

       Plaintiff, Lisa Baxter, by and through her undersigned counsel, hereby submits this

Notice of Settlement and states that Plaintiff, Lisa Baxter, and Defendant, Fortiva Financial,

LLC, have reached a settlement with regard to this case and are presently drafting, finalizing, and

executing the settlement and dismissal documents. Upon execution of the same, the parties will

file the appropriate dismissal documents with the Court.

       Dated this 17th day of August, 2017.

                                              /s/ Octavio Gomez
                                               Octavio “Tav” Gomez, Esquire
                                               Morgan & Morgan, Tampa, P.A.
                                               One Tampa City Center
                                               201 N. Franklin St., 7th Floor
                                               Tampa, FL 33602
                                               Tele: (813) 223-5505
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                                               Florida Bar #: 0338620
                                               Attorney for Plaintiff
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 17th day of August, 2017, a true and correct copy of

the foregoing has been filed with, and provided to all counsel of record, via the Court’s CM/ECF

system.

                                            /s/ Octavio Gomez
                                             Octavio “Tav” Gomez, Esquire
                                             Florida Bar #: 0338620
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